Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF LOUISIANA

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Knight Oil Tools, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          FKA Knight Oil Tools, Inc.
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2727 SE Evangeline Thruway
                                  Lafayette, LA 70508
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Lafayette                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1




                 17-51015 - #1 File 08/08/17 Enter 08/08/17 10:38:23 Main Document Pg 1 of 5
Debtor    Knight Oil Tools, LLC                                                                      Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
                                          Chapter 11. Check all that apply:
                                                              Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                              A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                Case number
                                                 District                                 When                                Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     See Exhibit "1"                                               Relationship
                                                 District                                 When                            Case number, if known




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2




                 17-51015 - #1 File 08/08/17 Enter 08/08/17 10:38:23 Main Document Pg 2 of 5
Debtor   Knight Oil Tools, LLC                                                                    Case number (if known)
         Name



11. Why is the case filed in     Check all that apply:
    this district?
                                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                        preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                  No
    real property or personal     Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                    Why does the property need immediate attention? (Check all that apply.)
                                             It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                              What is the hazard?
                                             It needs to be physically secured or protected from the weather.
                                             It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                              livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                             Other
                                            Where is the property?
                                                                             Number, Street, City, State & ZIP Code
                                            Is the property insured?
                                             No
                                             Yes. Insurance agency
                                                         Contact name
                                                         Phone



         Statistical and administrative information

13. Debtor's estimation of       .       Check one:
    available funds
                                          Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of           1-49                                           1,000-5,000                               25,001-50,000
    creditors                     50-99                                                                                     50,001-100,000
                                                                                  5001-10,000
                                  100-199                                        10,001-25,000                             More than100,000
                                  200-999

15. Estimated Assets              $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                  $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                  $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                  $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities         $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                  $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                  $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                  $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3




                17-51015 - #1 File 08/08/17 Enter 08/08/17 10:38:23 Main Document Pg 3 of 5
                           08/08/2017




                   Authorized Representative of Knight Energy Holdings, LLC, Sole Member



              /s/William H. Patrick, III
                                                                   08/08/2017




17-51015 - #1 File 08/08/17 Enter 08/08/17 10:38:23 Main Document Pg 4 of 5
                                    EXHIBIT “1”


NAME                       RELATIONSHIP    DATED       DISTRICT              CASE
                                           FILED                             NUMBER
Knight Energy Holdings,    SOLE MEMBER    08/08/2017   Western District of   17-51014
LLC                                                    Louisiana
Knight Oil Tools, LLC        DEBTOR       08/08/2017   Western District of
                                                       Louisiana
Knight Manufacturing,        AFFILIATE    08/08/2017   Western District of
LLC                                                    Louisiana
KDCC, LLC f/k/a Knight       AFFILIATE    08/08/2017   Western District of
Well Services, LLC                                     Louisiana
Tri-Drill, LLC               AFFILIATE    08/08/2017   Western District of
                                                       Louisiana
Advanced Safety &            AFFILIATE    08/08/2017   Western District of
Training Management,                                   Louisiana
LLC
Knight Security, LLC         AFFILIATE    08/08/2017   Western District of
                                                       Louisiana
Knight Information           AFFILIATE    08/08/2017   Western District of
Systems, LLC                                           Louisiana
El Caballero Ranch, Inc.     AFFILIATE    08/08/2017   Western District of
                                                       Louisiana
Rayne Properties, LLC        AFFILIATE    08/08/2017   Western District of
                                                       Louisiana
Knight Aviation, LLC         AFFILIATE    08/08/2017   Western District of
                                                       Louisiana
Knight Research &            AFFILIATE    08/08/2017   Western District of
Development, LLC                                       Louisiana
Knight Family                AFFILIATE    08/08/2017   Western District of
Enterprises, LLC                                       Louisiana
HMC Leasing, LLC             AFFILIATE    08/08/2017   Western District of
                                                       Louisiana
HMC Investments, LLC         AFFILIATE    08/08/2017   Western District of
                                                       Louisiana




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    17-51015 - #1 File 08/08/17 Enter 08/08/17 10:38:23 Main Document Pg 5 of 5
